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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS,
                               HOUSTON DIVISION

DEXTER DARNELL JOHNSON,                §
    Petitioner,                        §
                                       §
             v.                        §       CIVIL ACTION NO. 4:11-cv-02466
                                       §
LORIE DAVIS, Director,                 §       DEATH PENALTY CASE
Texas Department of Criminal           §
Justice, Correctional Institutions     §
Division,                              §
       Respondent.                     §


               OPPOSED MOTION FOR A STAY OF EXECUTION

TO THE HONORABLE JUDGE OF SAID COURT:

      COMES NOW, Petitioner, DEXTER DARNELL JOHNSON, by and through

undersigned counsel, the Office of the Federal Public Defender for the Northern

District of Texas (“FPD”), and moves for a stay of execution. A stay of execution is

needed to ensure that Mr. Johnson is afforded the right to conflict-free counsel that

has the opportunity to meaningfully research, investigate, and present potentially

meritorious claims for habeas relief. Despite the FPD’s diligent work since its

appointment, the short time before Mr. Johnson’s execution is insufficient to remedy

the errors and omissions made by Mr. McCann and to effectively litigate the

remaining potentially meritorious claims. Mr. Johnson requests that this stay motion

be considered in conjunction with his motion to terminate Mr. McCann’s

appointment, DE 76, and incorporates all facts and arguments in that motion by this

specific reference.


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   I.      Factual background.

        Mr. Johnson was convicted of capital murder and sentenced to death on June

28, 2007. On the same day, Mr. McCann was appointed to represent Mr. Johnson in

state habeas proceedings. 3 CR 681 (Texas v. Johnson, No. 1085483, 11.071 Writ of

Habeas     Corpus    Oath   of   Indigence/Findings    of   Fact/Order   Appointing

Counsel/Statement of Facts (208th D.Ct. Jun. 28, 2007)). The Texas Court of Criminal

Appeals denied habeas relief on June 30, 2010. Ex parte Johnson, No. WR-73,600-01,

Slip Op. (Tex. Crim. App. Jun. 30, 2010) (per curiam). Subsequently, Mr. McCann

moved for appointment to continue representing Mr. Johnson in federal habeas

pursuant to 18 U.S.C. § 3599. Johnson v. Thaler, No. 4:10-mc-00318, DE 1 at 1 (S.D.

Tex. Jul. 29, 2010). He was appointed the next day. Id. DE 2. All of Mr. Johnson’s

claims for relief were denied during his federal habeas proceedings.

        On January 15, 2019, Mr. Johnson wrote a letter to this Court. He explained

that he was told by other inmates that Mr. McCann had a conflict of interest in

representing him; that Mr. McCann had not explained to him what was going on in

his case; and, that he was requesting new counsel. DE 65. In response to this letter,

Mr. McCann filed a sealed, unopposed response opposing Mr. Johnson’s request. DE

66. On January 29, 2018, Mr. Johnson filed a motion for appointment of counsel. DE

68. On February 5, 2019, in response to a motion filed by Mr. Johnson, the Court

appointed the FPD as co-counsel. DE 70 at 2. In the order appointing the FPD to

represent Mr. Johnson, the Court decided to maintain Mr. McCann’s appointment as

lead counsel. DE 70 at 2. That order instructed the FPD to: (1) make a thorough and

independent assessment of whether unpresented claims remain; (2) “explore whether


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Johnson can establish cause for the procedural default of any ineffective-assistance-

of-trial-counsel claims pursuant to Martinez”; (3) assess “whether those claims merit

relief”; and assess (4) “whether a viable vehicle exists for raising those claims in

federal court.” Id.

       On April 5, 2019, the FPD filed a motion to terminate the appointment of Mr.

McCann. DE 76. In that motion, the FPD described the results of its preliminary

review of Mr. Johnson’s case. It found significant evidence that Mr. McCann had

provided ineffective assistance of counsel which could provide cause to overcome the

procedural default of ineffective assistance of trial counsel claims, and that Mr.

McCann was operating under a conflict of interest. Specifically that: (1) Mr. McCann

failed to collect Mr. Johnson’s case file; (2) Mr. McCann violated his professional and

ethical duties to Mr. Johnson by defending his state habeas representation while

nominally seeking excusal from procedural default under Martinez v. Ryan; (3) Mr.

McCann failed to inform Mr. Johnson of his conflict of interest under Martinez; and

(4) Mr. McCann failed to timey present claims for relief in accordance with state law.

Id. at 9-17.

       In addition to these failures by Mr. McCann, that motion documents several

previously unpresented, and potentially meritorious, claims for relief. These claims

were that: (1) Mr. Johnson likely qualifies for a diagnosis of intellectual disability; (2)

trial counsel were ineffective for failing to preserve error when the State misstated

the law during punishment phase closing arguments and claimed that mitigating

evidence must be connected to the crime; (3) a State witness presented false




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testimony that Mr. Johnson was eligible for a less-restrictive custody classification,

and trial counsel were ineffective for eliciting that testimony; (4) significant

unpresented issues remain regarding Mr. Johnson’s conviction; (5) trial counsel were

ineffective for failing to investigate and present evidence that Mr. Johnson lacked the

requisite intent to commit capital murder; (6) Mr. Johnson’s trial counsel worked for

the Harris County District Attorney’s Office without appropriate protective measures

in place; and (7) new discovery from the State could lead to relief. DE 76 at 18-28.

The motion also outlined the various viable procedural mechanisms to present these

claims. Id. at 28-33.

         Mr. Johnson is currently set to be executed on May 2, 2019.

   II.        Mr. Johnson’s execution should be stayed to allow for meaningful,
              conflict-free representation.

         The FPD requires additional time to continue their investigation of potentially

meritorious claims. While the preliminary review of Mr. Johnson’s case establishes

that potentially meritorious claims still exist, more time to investigate and develop

these issues is required to provide Mr. Johnson with meaningful, conflict-free

representation.

         A.     This Court has the discretion to stay Mr. Johnson’s execution
                pursuant to McFarland v. Scott.

         Under 18 U.S.C. § 3599(e), capitally-sentenced prisoners have the right to

assistance of counsel “throughout every . . . stage of available judicial proceedings . . .

including all available post-conviction process, together with applications for stays of

execution and other appropriate motions and procedures.” District courts have the




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power to grant a stay in conjunction with appointment of counsel under § 3599. Ryan

v. Gonzales, 568 U.S. 57, 70-71 (2013) (“[A] district court may stay a capital prisoner’s

execution once the prisoner has invoked his statutory right to counsel.”); Gutierrez v.

Davis, No. 18-70028 (5th Cir. Sept. 10, 2018); Ramirez v. Davis, 675 F. App’x 478, 479

(5th Cir. 2017); Battaglia v. Stephens, 824 F.3d 470, 475 (5th Cir. 2016); Charles v.

Stephens, 612 F. App’x 214, 218 (5th Cir. 2015). In McFarland v. Scott, 512 U.S. 849

(1994), the Supreme Court held that stays of execution are warranted in ensure that

a petitioner’s right to counsel is respected, irrespective of whether an application for

writ of habeas corpus is pending. McFarland “has instructed federal courts to grant

a stay” when a petitioner has “insufficient time to meaningfully exercise [his right to

counsel] because of an impending execution[.]” Charles, 612 F. App’x at 222. The right

to counsel does not merely mean that something can be filed on the petitioner’s behalf;

instead, the right to counsel “necessarily includes the right for that counsel

meaningfully to research and present a defendant’s habeas claims.” McFarland, 512

U.S. at 858 (emphasis added). Otherwise, the right to counsel would be an “empty

promise.” In re Hearn, 376 F.3d 447, 457 (5th Cir. 2004).

      The right to counsel applies to “all available post-conviction process,” not

merely for the initial federal habeas corpus proceedings. 18 U.S.C. § 3599(e). In

Christensen v. Roper, the Supreme Court granted a stay of execution while

considering whether the lower court had denied the petitioner the right to meaningful

assistance of counsel in post-judgment proceedings. 135 S. Ct. 891 (2015) (per

curiam). The petitioner had sought appointment of conflict-free counsel, as the only




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remaining avenues for relief in his case would require his current counsel to

“denigrate their own performance,” which created a clear conflict of interest. Id. at

894. The court explained that “[c]ounsel cannot reasonably be expected to make such

an argument.” Id. The Court determined that substitution of counsel was

appropriate, despite the “host of procedural obstacles” the petitioner faced. Id. at 895.

        Under 28 U.S.C. § 2251(a)(3), a court “that would have jurisdiction to entertain

a habeas corpus application” has the ability to stay an execution for up to 90 days

from the appointment of counsel. Here, Mr. Johnson filed a motion requesting the

appointment of counsel, DE 68, and this Court appointed the FPD on February 5,

2019. DE 70 at 2. Because this was less than 90 days from Mr. Johnson’s scheduled

execution date, this Court has the ability to stay Mr. Johnson’s May 2, 2019,

execution.1 Mr. Johnson timely requested appointment of conflict-free counsel after

he became aware that Mr. McCann labored under a conflict of interest. DE 65, 68.

While this conflict should have been raised by Mr. McCann previously, DE 76 at 14-

15, Mr. Johnson is not at fault for Mr. McCann’s omission. As such, a stay of execution

is warranted to ensure that the appointment of counsel is meaningful. See

McFarland, 512 U.S. at 858.

        B.      A stay is warranted to allow Mr. Johnson time to meaningfully
                investigate and present his potentially meritorious claims.

        Absent a stay of execution, Mr. Johnson will not receive the meaningful

assistance of counsel he is entitled to. See McFarland, 512 U.S. at 858. The FPD’s


1This Court’s 90 day stay of execution would last until May 6, 2019. However, under Texas law, the
earliest that a new execution date can be set would be 91 days after it is, potentially, reset by the trial
court. Tex. Code Crim. Pro. art 43.141(c).


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efforts on behalf of Mr. Johnson were slowed initially because of Mr. McCann’s failure

to collect Mr. Johnson’s case file. Mr. McCann failed to collect voluminous files from

both of Mr. Johnson’s trial counsel, as well as from the trial mitigation specialist. DE

76 at 9-10. This is a basic task that Mr. McCann inexcusably failed to accomplish in

the more than ten years that he was appointed to represent Mr. Johnson. Because of

this, the FPD has had to devote significant time and resources to collecting these files.

After collecting these files, the FPD immediately began to review them, but due to

their volume, as of today that review remains incomplete.

      The FPD’s preliminary review of Mr. Johnson’s files identified numerous

potentially meritorious claims for relief that Mr. McCann has either overlooked,

inadequately investigated, or failed to plead in a timely fashion. DE 76 at 18-28.

Rather than being fully briefed claims ripe for review, they reflect that the

investigation into these matters is far from complete and additional time is needed

for consultation with necessary experts and eventual preparation of those claims to

be filed. As such, a stay is warranted to allow Mr. Johnson to receive meaningful,

conflict-free representation. A non-exhaustive list of additional investigation needs

follows, and the FPD anticipates that as its work on Mr. Johnson’s case continues,

additionally potentially meritorious claims will be identified.

      First, Mr. Johnson likely qualifies for a diagnosis of intellectual disability

under current medical standards, which would render him categorically ineligible for

the death penalty. DE 76 at 18-22. The trial record in this case provides significant

indications that he qualifies for such a diagnosis, and Dr. Watson has informed the




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FPD that changes in the criteria for diagnosis of intellectual disability warrant full

investigation into this issue. Id. at 21. While the FPD has diligently pursued this line

of investigation, additional time is needed to investigate Mr. Johnson’s adaptive

functioning, as well as time to consult with necessary experts in furtherance of that

diagnosis.

      Second, significant, as of yet not fully investigated, issues remain pertaining

to Mr. Johnson’s conviction. DE 76 at 25-26. The FPD is investigating guilt-phase

issues with an eye toward raising IATC, false testimony and other prosecutorial

misconduct claims based on new evidence that Mr. Johnson was not the master-mind

of the offenses for which he and his co-defendants were convicted. The FPD has

diligently pursued this investigation, yet due to the number of extraneous offenses

and individuals involved in them, that investigation remains ongoing.

      Third, Mr. McCann filed a motion seeking to stay the federal proceeding to

allow him to present a claim in state court that trial counsel failed to present evidence

of Mr. Johnson’s “psychological and biological mental impairment” during the merits

phase of trial to demonstrate an absence of the requisite intent to commit capital

murder. DE 14 at 2-3. The FPD concurs with Mr. McCann’s assessment that this

claim is potentially meritorious; however, Mr. McCann should have presented this

issue in Mr. Johnson’s initial state habeas application. Diligent pursuit of this issues

requires additional investigation and consultation with expert witnesses, which has

not yet occurred.




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             Fourth, new discovery recently turned over by the State in the form of Brady

notices needs additional time to be developed. On February 19, 2019, the State

provided two notices—one regarding problems with the Houston Police Department

latent print lab, a second regarding Officer Todd W. Miller’s conduct—which the FPD

requires additional time to investigate the impact of on Mr. Johnson’s case. DE 76 at

28.

             Moreover, once this factual investigation is complete, the FPD requires time to

conduct legal research as prepare various potential filings on Mr. Johnson’s behalf.

As outlined in the motion to terminate Mr. McCann’s appointment, Mr. Johnson’s

already identified unpresented claims are not “‘indisputably’ barred by procedural

rules” nor are they a “wholly futile enterprise.” Battaglia, 824 F.3d at 474 (internal

citations omitted); DE at 29-33. Yet, they require time to investigate and prepare

before being ripe for judicial review. Not granting Mr. Johnson a stay of execution

would violate his right to meaningful, conflict-free counsel.

      III.      Conclusion.

             For the reasons stated herein, Mr. Johnson requests that this Court enter an

order staying his execution.



Respectfully submitted,

                                             JASON D. HAWKINS
                                             Federal Public Defender

                                             /s/ Jeremy Schepers
                                             Jeremy Schepers (24084578)
                                             Supervisor, Capital Habeas Unit
                                             Office of the Federal Public Defender


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                          CERTIFICATE OF CONFERENCE

      I, Jeremy Schepers, hereby certify that on the 5th day of April, 2019, I
conferenced this motion with Ellen Stewart-Klein of the Texas Attorney General’s
Office. She informed me that the Director opposes this motion.

                                              /s/ Jeremy Schepers
                                              ____________________________
                                              Jeremy Schepers




                             CERTIFICATE OF SERVICE

      I, Jeremy Schepers, hereby certify that on the 8th day of April, 2019, a copy of
the foregoing motion was delivered via ECF to the Texas Attorney General’s Office,
attention Ellen Stewart-Klein.

                                              /s/ Jeremy Schepers
                                              ____________________________
                                              Jeremy Schepers




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